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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                           ALEXANDRIA DIVISION


                                              )
 CRAIG HICKS, individually and on behalf of   )
 all others similarly situated,               )
                                              )
                    Plaintiff,                )
                                              )
             v.                               )   Case No. 1:20-cv-00532-LO-MSN
                                              )
 ALARM.COM INC., a Delaware                   )
 Corporation,                                 )
                                              )
                    Defendant.                )




       DEFENDANT ALARM.COM INCORPORATED’S REPLY IN SUPPORT
        OF ITS MOTION TO DISMISS PLAINTIFF’S COMPLAINT AND/OR
                   TO STRIKE IMPROPER ALLEGATIONS
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                                         INTRODUCTION

       Plaintiff’s Opposition (Dkt. 16, “Opposition” or “Opp.”) to Alarm.com’s Motion to Dismiss

or Strike (Dkt. 11, “Motion”), like his Complaint (Dkt. 1, “Complaint” or “Compl.”), still fails to

connect Alarm.com to the two purported text messages or single phone call at issue in this case in

any way. Alarm.com began its Motion by stating it does not sell its software or any hardware directly

to end-user consumers, nor does it telemarket to anyone, much less allow anyone else to do so on its

behalf and, thus, that it could not be either directly or vicariously liable for the alleged single call

and two texts at issue in the Complaint. In his Opposition to the Motion, Plaintiff concedes he “has

not alleged vicarious liability” in his Complaint. Moreover, Plaintiff does not argue, let alone allege,

that Alarm.com physically sent him the two text messages or placed the one call at issue, as is plainly

required to state a plausible claim for direct TCPA liability. These failings as to this threshold legal

issue alone warrant dismissal of the entire Complaint.1 Instead, Plaintiff doubles down on the

speculative, conclusory, and inconsistent allegations in his Complaint in a futile attempt to hold

Alarm.com liable under the TCPA and VTPPA for the alleged unlawful acts of third parties. Federal

pleading standards and Article III require much more, and the Complaint is ripe for dismissal.

       Indeed, beyond mostly just regurgitating or recasting the conclusory allegations from the

Complaint, ignoring or mischaracterizing Alarm.com’s cited authorities, and including several pages

of irrelevant telecommunications history, Plaintiff’s Opposition offers little argument and little to no

relevant legal authority in opposing the Motion—and what little it does offer completely misses the

mark. Tellingly, Plaintiff fails to cite a single case holding that conclusory allegations regarding

TCPA liability and the purported use of a “prerecorded voice” or an ATDS like those contained in

his Complaint here satisfy federal pleading standards. That is because no such cases exist.

       1
          Plaintiff’s VTPPA claim is based on the same conclusory allegations devoid of supporting
facts as his TCPA claims and, thus, likewise fails and should be dismissed for the same reasons.

                                                   1
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        Beyond that, Plaintiff makes no attempt to distinguish or to even mention a single case among

the many cited in support of Alarm.com’s prerecorded voice, ATDS, or DNC arguments in the

Motion, all of which show that the vast majority of federal courts have rejected TCPA complaints

with similarly sparse and conclusory allegations for falling far short of satisfying federal pleading

standards. Plaintiff’s arguments also rest squarely, if not entirely, on his assertion that the content

of the one purported “prerecorded” phone call he received is “exactly the same in every respect” as

others posted on the third party website cited in his Complaint. Yet, not only is that assertion

demonstrably false, but it sheds no light on the two text messages at issue (the contents of which are

omitted from the Complaint and the Opposition), nor does it tie that call or the texts to Alarm.com.2

Plaintiff spills even less ink in opposing Alarm.com’s arguments as to why his analog VTPPA

claim—which he admits arises from the same operative facts and seeks identical relief as his TCPA

DNC claim—should not be dismissed as improperly duplicative of his TCPA claim. Nor does

Plaintiff explain how his complete failure to connect Alarm.com to the one call or two texts at issue

here meets all three of the requisite elements for Article III standing, let alone why his superfluous

“historical allegations” about Alarm.com, which are irrelevant to this case, should not be stricken.

        All told, Plaintiff’s Opposition utterly fails to refute the many well-supported grounds for

relief presented by Alarm.com’s Motion. Consequently, the Court should grant the Motion.

                                             ARGUMENT

      I.    Plaintiff Has Not Pled Any Facts Supporting Direct TCPA Liability.

        In a failed attempt to overcome Alarm.com’s plain (and now unconverted) demonstration to

the contrary in its Motion, Plaintiff’s Opposition merely posits in conclusory fashion that “Plaintiff



        2
         For Count I, Plaintiff alleges the call involved a “prerecorded voice” but does not claim it
involved ATDS use. For Count II, he alleges the text messages were sent using an ATDS. Thus,
whether the call at issue is the “same” as calls others received (and it is not) is irrelevant to Count II.

                                                    2
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 has plainly alleged that Alarm.com directly made the calls at issue” and seemingly asks the Court to

 imagine non-existent facts to support this implausible inference. Opp. at 7. However, such bald

 conclusions by Plaintiff, without any factual support, are insufficient to survive dismissal. Plaintiff

 further concludes that he “has alleged that the first and only actual company identified in these

 [alleged] TCPA violative calls [sic] was Alarm.com.” Id. at 7-8 (emphasis in original). Plaintiff is

 wrong, and neither Plaintiff’s Complaint nor his Opposition connect Alarm.com to the one call or

 two texts at issue here. As shown below, Plaintiff’s failures on this point are multi-faceted:

                     a. Plaintiff Does Not Allege Alarm.com “Physically” Sent the Texts.

         As Alarm.com argued in its Motion, it is well accepted that direct TCPA liability applies

 only to those persons or entities who take the “steps necessary to physically place” a telephone call

 or send a text message. Motion at 8 (quoting Sheski) (emphasis added). This rule has been widely

 accepted by courts in the Fourth Circuit and elsewhere, including in this District. See, e.g., id. at 7-

 10 (citing, inter alia, Monitronics, Hurley and Aaronson). Thus, federal courts across the country

 have consistently dismissed threadbare TCPA complaints, like Plaintiff’s, that fail to provide

 sufficient non-conclusory facts suggesting that the defendant physically placed or sent the calls or

 text messages at issue. Id. Such is particularly true here, and it alone dooms Plaintiff’s Complaint.

         Plaintiff’s Opposition does not address this simple but fundamental legal maxim or show

 where such facts appear in the Complaint. The reason why he does not do so is simple: no such facts

 were pled. Instead, Plaintiff’s direct liability argument focuses primarily (if not exclusively) on the

 one at-issue phone call and mostly just repeats the conclusory allegations from his Complaint. See

 Opp. at 7-9. Yet, as Alarm.com pointed out, Plaintiff provides no detail at all about the content of

 or circumstances surrounding the at-issue text messages he supposedly received from which the

 Court could remotely infer that Alarm.com took any steps to physically send them, as is required for

 direct TCPA liability. See Motion at 9 & fn. 9. Plaintiff’s Opposition does nothing to refute this.
                                                    3
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        Indeed, Plaintiff posits that he “has plainly alleged that Alarm.com directly made the calls at

 issue. ” Opp. at 7, emphasis added. Not only does this not shed any light on the texts at issue but

 also the few paragraphs he cites from his pleading on this (id., citing Compl. ¶ 8-9, 14-16) are

 likewise entirely conclusory and, tellingly, are not supported by any facts or case law. See Compl.

 ¶ 8 (“Defendant is a company that provides home alarm services.”); ¶ 9 (“To increase its sales, and

 as part of a general cold-call based marketing scheme, Defendant markets its services using pre-

 recorded voice calls and text messages to consumers.”); ¶ 14 (“Defendant’s telemarketing efforts

 include the use of auto dialers to send telemarketing text messages.”); ¶ 15 (“Recipients of these text

 messages, including Plaintiff, did not consent to receive them.”); ¶ 16 (“Defendant used this

 equipment because it allows for thousands of automated texts to be sent at one time.”). It is axiomatic

 that such bald allegations do not meet federal pleading standards. See, e.g., Syed v. Mohammad,

 2016 WL 8731783, at *1 (E.D. Va. Apr. 1, 2016) (“[L]egal conclusions unsupported by allegations

 of specific facts are insufficient to withstand” a Rule 12(b)(6) motion.) (citing Randall v. U.S., 30

 F.3d 518, 522 (4th Cir. 1994)). And as Plaintiff points out in his brief (p. 6, quoting ACA), while the

 Fourth Circuit did reiterate that the federal “pleading standard does not require detailed factual

 allegations,” that same opinion goes on to note that the standard “‘demands more than an unadorned,

 the-defendant-unlawfully-harmed-me accusation’” and that “[l]abels, conclusions, recitation of a

 claim’s elements, and naked assertions devoid of further factual enhancement will not suffice.” ACA

 Fin. Guar. Corp. v. City of Buena Vista, Virginia, 917 F.3d 206, 211 (4th Cir. 2019) (quoting

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). That is all that Plaintiff’s Complaint does in this case.

        That Plaintiff does not even quote from the at-issue text messages in his Complaint or

 Opposition—which would have been a simple task if they actually existed and/or supported his direct

 liability claims—is quite telling. Apparently they do not. Regardless, the fact remains that nothing



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 about the text messages at issue appears in the Complaint beyond Plaintiff’s unsupported

 conclusions.3 This is plainly insufficient to plead a plausible direct TCPA liability claim. See, e.g.,

 Melito v. Am. Eagle Outfitters, Inc., 2015 WL 7736547, at *4 (S.D.N.Y. Nov. 30, 2015) (holding

 that merely alleging defendant “caused texts to be sent” insufficient to adequately allege defendant

 “actually sent any texts” for direct TCPA liability); Sheski v. Shopify (USA) Inc., 2020 WL 2474421,

 at *3 (N.D. Cal. May 13, 2020) (no direct TCPA liability where the facts alleged “d[id] not lead to

 an inference that [defendant] … controlled the content of and sent the [text] message” at issue).

                    b. Plaintiff Does Not Allege Alarm.com “Physically” Placed the Call.

        Plaintiff’s direct liability (and other) arguments regarding the one purported “prerecorded”

 phone call fare no better. Once again, Plaintiff does not even address (let alone allege) that

 Alarm.com physically placed the 954 call—the only alleged violative call—or show where such

 facts appear in the Complaint, as he must to state a claim for direct TCPA liability. Instead,

 Plaintiff’s only allegation to support his argument that Alarm.com is directly liable is that “when the

 [844] phone number identified in the [alleged] prerecorded voice message [made from the 954

 number] was called back, the agent identified as [sic] ‘Alarm.com.’” Opp. at 7-8. However, this

 allegation does not support a plausible inference that Alarm.com physically placed the 954 call.

        As an initial matter, it makes no sense that, if Alarm.com physically made the call with the

 954 number and left the 844 number to call back, it would identify itself in the message as “Mark

 from Home Security Promotions” and only identify itself as Alarm.com when someone calls back.

 Under Rule 12(b)(6), courts need not “accept as true unwarranted inferences, unreasonable

 conclusions, or arguments” when ruling on the Motion at bar. Eastern Shore Markets, Inc. v. J.D.


        3
           As discussed in the Motion (see p. 9), Plaintiff alleges at best that the texts and call
 originated from the same 954 number, but he provides no details about the substance of the two texts
 whatsoever, much less any indication that the 954 number from which they purportedly originated
 belonged to Alarm.com or that Alarm.com’s products or services were offered in the texts.

                                                   5
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 Assoc. Long Term Disability P’ship, 213 F.3d 175, 180 (4th Cir. 2000) (citing 5A Wright & Miller,

 FED. PRAC. AND PROC. § 1357 (2d ed. 1990 & 1998 Supp.). This Court should rule similarly here.

        Even assuming arguendo that this allegation is true, it does not suggest in any way that the

 only call at issue—from the 954 number—was physically placed by Alarm.com, particularly as there

 is nothing in the Complaint indicating Alarm.com owned or was associated with the 954 number or

 took any “steps to physically place” that call, as Alarm.com has demonstrated. See Motion at 9-10

 & fn. 8-9. In fact, Plaintiff concedes in his brief that the purported “voice message” he received

 from “Mark” with “Home Security Promotions” did not identify (or even say) “Alarm.com” or offer

 any Alarm.com products or services. See Opp. 7 (citing Compl. ¶ 17); see also Dkt. 14 (recording

 alleged of call, cited in Complaint as Exhibit 1). Instead, Plaintiff merely concludes in his pleading

 “[o]n information and belief, Defendant, or a third-party acting on its behalf, made unsolicited, pre-

 recorded voice calls and sent unsolicited, autodialed text messages.” Compl. ¶ 21 (emphasis added);

 see also id. ¶¶ 33, 37 (referring to “agents” making “unsolicited calls” without supporting facts).

 Such allegations are likewise insufficient to satisfy federal pleading standards and survive dismissal.

 See In re Thiel, 2015 WL 773401, at *4, n.4 (W.D.N.C. Feb. 24, 2015), aff’d, 627 F.App’x 272 (4th

 Cir. 2016) (holding that “‘information and belief’ allegations [like Plaintiff’s] should be disregarded

 in an Iqbal analysis, much as [any other] conclusory allegations must be” under Rule 12(b)(6)).

        Further, Plaintiff’s assertion that “the first and only actual company identified in these TCPA

 violative calls was Alarm.com” (Opp. at 7-8, emphasis in original) is demonstrably false. For one

 thing, the only company identified in the alleged prerecorded message at issue is “Home Security

 Promotions” and not Alarm.com. See Dkt. 14. For another, Plaintiff’s argument is belied by one of

 the websites he cites in his Complaint and upon which he relies for his flawed “prerecorded voice”




                                                   6
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 argument in his Opposition, which does not identify Alarm.com either.4 See Compl. ¶ 19 (citing

 https://directory.youmail.com/directory/phone/9545079334 (last accessed July 22, 2020)); see also

 Declaration of A. Paul Heeringa (“Heeringa Decl.”), filed herewith, at ¶ 4 and Exhibit (“Ex.”) A

 thereto (screenshot of website cited as “Exhibit 1” in the Complaint).5 These contradictions further

 underscore Plaintiff’s utter failure to plead a plausible direct TCPA liability claim against Alarm.com

 here. See also Hernandez v. Select Portfolio, Inc., 2015 WL 3914741, at *10 (C.D. Cal. June 25,

 2015) (“Contradictory allegations … are inherently implausible” and thus insufficient to withstand

 dismissal under Rule 12(b)(6).); Hurt v. Bank of Am., 2012 WL 12904236, at *3 (E.D. Va. July 11,

 2012), report and rec. adopted, 2012 WL 12904087 (Sept. 21, 2012), aff’d sub nom., 511 F.App’x

 256 (4th Cir. 2013) (“a plaintiff ‘can plead himself out of court by pleading facts that show that he

 has no legal claim’”) (quoting Atkins v. City of Chicago, 631 F.3d 823, 832 (7th Cir. 2011)).

                     c. Plaintiff Fails to Distinguish Alarm.com’s Direct Liability Authorities.

         Plaintiff’s attempt to distinguish a handful of the many directly on-point authorities cited by

 Alarm.com (see Opp. at 8-9, discussing Shopify, Monitronics, Vessal, Aaronson, and Hurley) is

 unavailing for several reasons. Each case Alarm.com cited represents an instance where, as here, a


         4
           In his Complaint and Opposition, Plaintiff does not capitalize “home security promotion”
 and incorrectly uses the singular “promotion” rather than “promotions” as stated by “Mark” on the
 recording Plaintiff submitted (see Dkt 14), presumably to suggest that entity is not an “actual
 company.” Regardless, as Alarm.com noted in its Motion, it is well accepted that an alleged “seller
 generally does not ‘initiate’ calls [within the meaning of the TCPA for direct liability purposes]
 placed by [alleged] third-party telemarketers.” Motion at 9-10 (quoting Smith v. State Farm Mut.
 Auto. Ins. Co., 30 F. Supp. 3d 765, 771 (N.D. Ill. 2014)). See also id. at 10 (citing Wick v. Twilio).
 Thus, even assuming arguendo that someone at the other end “identifies the company as Alarm.com”
 if the 844 number in the message is called, that conclusory allegation alone does not allow for a
 plausible inference that Alarm.com itself physically placed the initial call or texts from the 954
 number. See, e.g., Bank v. Vivint Solar, Inc., 2019 WL 2280731, at *3-6 (E.D.N.Y. Feb. 25, 2019),
 report and rec. adopted sub nom., 2019 WL 1306064 (Mar. 22, 2019) (dismissing, notwithstanding
 allegation that defendant called plaintiff 30 minutes after the allegedly violative call, where plaintiff
 provided no detail about the alleged initial prerecorded call, holding the follow up call was “an
 insufficient basis upon which to infer that [defendant] made the specific Prerecorded Call” at issue).
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           The Court may properly consider this exhibit under Rule 12(b)(6), as it is incorporated by
 reference in the Complaint. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322 (2007).

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 plaintiff did not plead sufficient (or, like Plaintiff, any) facts suggesting the defendant(s) took any

 “steps to physically place” the calls or texts at issue, as is required to plead direct TCPA liability.

 See Motion at 7-10. Such is true here, as further discussed above. Plus, in Aaronson, the plaintiff

 did more than merely allege that the “defendants engaged in telemarketing” as Plaintiff argues. Opp.

 at 9. Instead, Judge Ellis dismissed, in part, “because [the] plaintiff’s allegations d[id] not show

 plausibly that defendant actually, physically initiated the telephone calls at issue,” despite a

 “specific” (albeit conclusory) allegation that one of the at-issue calls originated from “one of the

 Defendant’s many telephone numbers.” Aaronson v. CHW Grp., Inc., 2019 WL 8953349, at *2

 (E.D. Va. Apr. 15, 2019). Similarly, in Hurley v. Messer, the court found there were “simply no

 facts [alleged] suggesting that Defendant Fiverr physically placed the [alleged prerecorded] calls at

 issue” for direct TCPA liability, even though the plaintiff pled that the defendant “did the voiceovers

 for the subject [prerecorded] messages.” 2018 WL 4854082, at *3 (S.D.W. Va. Oct. 4, 2018).

        Yet, Plaintiff ignores the Childress case (see Motion at 10), where the plaintiff “assert[ed] in

 an entirely conclusory fashion that ‘Jason’ [the name in the message] was a ‘fake name’ and that the

 call was [actually] made by ‘Defendant’s pre-recorded message robot machine’” which the court

 found insufficient for direct TCPA liability. Childress v. Liberty Mut. Ins. Co., 2018 WL 4684209,

 at *3 (D.N.M. Sept. 28, 2018). Plaintiff likewise ignores Melito (see Motion at 8), which Judge Ellis

 cited with approval in Aaronson,6 where the court held that (i) “[c]onclusory assertions [the

 defendant] sent or caused the text message to be sent is simply a legal conclusion devoid of further

 factual enhancement” and (ii) “[b]ecause [p]laintiffs d[id] not plead [that the defendant] ‘made,’ i.e.,

 physically placed or actually sent, the [at issue] text messages, the [complaint] fail[ed] to state a

 claim.” 2015 WL 7736547, at *4. That is all Plaintiff has done here and he does not show otherwise.


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            See 2019 WL 8953349, at *3.

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         In sum, “[m]erely alleging that [Alarm.com] ‘made’ or ‘initiated’ [a] call” like Plaintiff has

 done here “is not sufficient to allege a [direct] TCPA [liability] claim.” Frank v. Cannabis & Glass,

 LLC, 2019 WL 4855378, at *2 (E.D. Wash. Oct. 1, 2019). Tellingly, Plaintiff fails to cite a single

 case in support of his direct TCPA liability argument in his Opposition, let alone one holding that

 conclusory allegations like those in his Complaint sufficiently state a claim for relief. See also

 Schwartz v. Wellin, 2014 WL 12637912, at *3 (D.S.C. Aug. 14, 2014) (“‘It is not the obligation of

 this court to research and construct legal arguments open to parties, especially when they are

 represented by counsel, and ... perfunctory and undeveloped arguments, and arguments that are

 unsupported by pertinent authority, are waived.’”) (quoting Judge v. Quinn, 612 F.3d 537, 557 (7th

 Cir. 2010)). Therefore, the Complaint should be dismissed pursuant to Rule 12(b)(6) for this reason.

      II.    Plaintiff Concedes Alarm.com’s Vicarious TCPA Liability Arguments.

         Plaintiff’s Opposition concedes (as it must) that “Plaintiff has not [adequately] alleged

 vicarious liability” and does not address Alarm.com’s arguments or authorities on this point. Opp.

 at 9.7 Thus, Plaintiff has conceded this issue. See Schwartz, supra; see also Alvarez v. Lynch, 828

 F.3d 288, 295 (4th Cir. 2016) (ignoring an opponent’s argument is “an outright failure to join in the

 adversarial process [that] ordinarily result[s] in waiver”); Chamblee v. Old Dominion Sec. Co., 2014

 WL 1415095, at *8 (E.D. Va. Apr. 11, 2014) (“[W]hen a plaintiff files an opposition to a motion to

 dismiss addressing only certain arguments raised by the defendant, a court may treat those arguments

 that the plaintiff failed to address as conceded.”) (quoting Coleman v. Johnson, 2014 WL 116150,

 at *4 (D.D.C. 2014), rev’d in part on other grounds sub nom. by Coleman v. Duke, 867 F.3d 203

 (D.C. Cir. 2017)). And because Plaintiff fails to plead sufficient (or any) facts supporting direct

 TCPA liability as stated above, all of his TCPA claims (i.e., Counts I through III of the Complaint)

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          Plaintiff cites to Childress here, suggesting he need not allege vicarious TCPA liability
 “because it is a separate theory of liability.” Id. But nothing in Childress stands for that proposition.

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 should be dismissed under Rule 12(b)(6) for this reason alone. See Gulden v. Consol. World Travel

 Inc., 2017 WL 3841491, at *3 (D. Ariz. Feb. 15, 2017) (“Because identity is a necessary element of

 all of Plaintiff’s [TCPA] claims, this deficiency warrants dismissal of all of Plaintiff’s claims.”).

     III.    Plaintiff Has Not Pled Facts Supporting Prerecorded Voice or ATDS Use.

         Plaintiff unilaterally declares that he “sufficiently alleges receiving prerecorded and

 autodialed calls from Alarm.com because Plaintiff alleges the facts and circumstances surrounding

 the calls that support such an inference.” Opp. at 2. Plaintiff also boldly declares that his “Complaint

 alleges at least five different facts supporting the conclusion at this stage of the litigation that

 Alarm.com used an autodialer to make unsolicited calls.” Id. at 11.8 These fail on several levels:

         First, Plaintiff’s Opposition repeatedly refers to a “call” or “calls” being made with an

 ATDS; but Plaintiff does not allege in his Complaint that the one call at issue was made using an

 ATDS, only the two purported text messages. 9 As to those allegations, Plaintiff does not plead any

 “circumstances surrounding” the at-issue text messages in his Complaint from which it could be

 remotely inferred that they were sent using an ATDS, let alone “five different facts” supporting his

 conclusory ATDS allegations. Instead, the entirety of Plaintiff’s “factual” allegations in his

 Complaint about the two text messages he purportedly received amounts to a single paragraph in

 which he provides zero detail about them (see Compl. ¶ 13); and the only other allegations in the


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            The “five different facts” Plaintiff alludes to are that “(1) the call was commercial and
 generic in nature, (2) it was made without Plaintiff’s consent, (3) Defendant used the same number
 to send the text messages and make the prerecorded call to Plaintiff, (4) Defendant identified itself
 in a subsequent call, and (5) that other consumers received similar telemarketing calls under similar
 circumstances.” Opp. at 11. Again, Plaintiff does not allege the call in this case involved an ATDS.
          9
            As to Count I, Plaintiff alleges that the call was prerecorded, not that it was sent using an
 ATDS. As to Count II, he alleges that the texts were sent using an ATDS. See Compl. ¶¶ 9, 14, 24,
 32-39. While Plaintiff’s Opposition seemingly suggests the call was also made using an ATDS, this
 is not alleged in his Complaint and “[i]t is well-established that parties cannot amend their complaints
 through briefing or oral advocacy.” S. Walk at Broadlands Homeowner’s Ass’n, Inc. v. OpenBand
 at Broadlands, LLC, 713 F.3d 175, 184 (4th Cir. 2013); see also E.I. du Pont de Nemours & Co. v.
 Kolon Indus., Inc., 637 F.3d 435, 449 (4th Cir. 2011) ( “[S]tatements by counsel that raise new facts
 constitute matters beyond the pleadings and cannot be considered on a Rule 12(b)(6) motion.”).

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 Complaint remotely relevant to the texts and ATDS usage are entirely conclusory (id., ¶¶ 14 & 16).

 Moreover, none of the “facts” on Plaintiff’s list of five in his brief are suggestive of ATDS usage as

 to the two text messages at issue, and Plaintiff cites no cases holding otherwise.10 Nevertheless, it is

 well accepted that “merely alleging, in a conclusory fashion, that defendant used an ATDS or

 parroting the statutory definition of an ATDS to describe the equipment used [which is all Plaintiff

 does] is insufficient to show plausibly that the telephone calls [or, here, texts] were made to plaintiff’s

 cellular phone via an ATDS.” Aaronson, 2019 WL 8953349, at *4. See also Motion at 15-16 (citing

 Thomas-Lawson, Snow, Sprye, Worsham, and Clayton). Plaintiff does not address or refute these

 authorities in his ATDS argument. Thus, Count II should be dismissed for this additional reason.

         Second, the few authorities that Plaintiff relies on for his ATDS argument (see Opp. at 10-

 11) are all readily distinguishable and inapposite, as they each involved “multiple” or “numerous”

 calls or text messages—the specific contents of which were alleged—made to the same plaintiff,

 along with other specifically alleged facts those courts found to be indicative of ATDS use (e.g.,

 “spoofed” numbers, and “dead air” at the beginning of a phone call), none of which Plaintiff alleges

 in this case regarding the two at-issue text messages. See, e.g., Keim v. ADF Midatlantic, 2015 WL

 11713593, at *4 (S.D. Fla. Nov. 10, 2015); Smith v. Royal Bahamas Cruise Line, 2016 WL 232425,

 at *1, 4 (N.D. Ill. Jan. 20, 2016); Zeidl v. Nat’l Gas & Electric, 2019 WL 2161546, at *1, 3 (N.D.

 Ill. May 17, 2019); Scott v. 360 Mortgage Grp., 2017 U.S. Dist. LEXIS 207513, at *17 (S.D. Fla.

 Dec. 14, 2017). Further, the district court actually dismissed the complaint in Johansen v. Vivant

 Inc., which Plaintiff quotes in his brief, ignoring that the holding in that case requires him “to

 describe the [text] messages he received in laymen’s terms or provide the circumstances surrounding



         10
          Indeed, the first and last “facts” on Plaintiff’s list of five in his Opposition are merely
 conclusions in his Complaint as to why “Plaintiff believes the [alleged] April 9, 2020 call used a
 prerecorded voice.” Compl. ¶ 19 (emphasis added). This says nothing about the text messages.

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 them to establish his belief that the messages were … delivered via the ATDS.” 2012 WL 6590551,

 at *3 (N.D. Ill. Dec. 18, 2012). As noted above, no such allegations are included in the Complaint

 regarding the text messages at issue in this case and, thus, Johansen further supports dismissal.

        Third, Plaintiff’s suggestion that he “should be permitted to proceed in discovery regarding

 the dialing system used” to plead a plausible TCPA (or any) claim (Opp. at 2-3) is contrary to well-

 settled law and should be rejected as out of hand. As one judge aptly noted in a TCPA case:

        As master of his Complaint, it is [Plaintiff]’s burden to state the facts within his
        knowledge that, taken as true, constitute a violation or violations of law. [Plaintiff]
        possesses knowledge as to each and every [text message] he [allegedly] received
        from [Defendant] and is perfectly capable of pleading facts to indicate … that those
        calls violated the TCPA. As [he] failed to plead these facts, his Complaint must be
        dismissed pursuant to Rule 12(b)(6).

 Hyatt v. J.B. Hunt Transp. Servs., Inc., 2015 WL 13648356, at *2 (W.D. Ark. June 16, 2015). Put

 differently by a Fourth Circuit judge in a TCPA case, “allowing discovery where Plaintiff has failed

 to allege a plausible claim would be directly contrary to the mandates of Iqbal and Twombly.”

 Hurley, 2018 WL 4854082, at *4; see also Ashcroft v. Iqbal, 556 U.S. 662, 678–79 (2009) (Rule 8

 “does not unlock the doors of discovery for a plaintiff armed with nothing more than conclusions”).

        Fourth, Plaintiff fails to refute the significant fact that none of the messages on the third-

 party website cited in Plaintiff’s Complaint mentions Alarm.com at all.            Rather, Plaintiff’s

 prerecorded voice argument rests solely on his conclusion that “at least one of the recordings on the

 [third party] website [cited in his Complaint] is exactly the same in every respect as the one he

 [allegedly] received.” Opp. at 10 (emphasis in original). As the Court will see (or rather will hear),

 however, none of the recordings on that website are “exactly the same in every respect” as the

 message Plaintiff allegedly received. See Heeringa Decl., ¶ 4 and Ex. A. Thus, it is just as plausible,

 if not probable, that the callers were leaving live voicemails reading from a script, rather than

 “prerecorded” messages, and whether the voice messages were “generic” is irrelevant to whether



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 they were prerecorded. In short, because Plaintiff had not pled “factual allegations suggesting that

 the voice on the other end of the line was [actually] prerecorded” and does not allege the phone call

 was placed using an ATDS, Count I of the Complaint should be dismissed for this additional reason.

 Motion at 14 (quoting Trumper v. GE Capital Retail Bank, 2014 WL 7652994, at *2 (D.N.J. July 7,

 2014); see also Aaronson, 2019 WL 8953349, at *3 (quoting Trumper); Sepehry-Fard v. Dep’t

 Stores Nat’l Bank, 15 F. Supp. 3d 984, 987 (N.D. Cal. 2014), aff’d in part, 670 F.App’x 573 (9th

 Cir. 2016) (dismissing where plaintiff pled no facts that the calls at issue “were placed using a

 prerecorded voice in alleged violation of the TCPA”); Manopla v. Sansone Jr.’s 66 Automall, 2020

 WL 1975834, at *2 (D.N.J. Jan. 10, 2020) (“Plaintiff merely proffers the content of the message and

 conclusory alleges that Defendant utilized a pre-recorded message. Such bare-bones, conclusory

 allegations are insufficient to survive a motion to dismiss.”) (citing Trumper).

        Finally, Plaintiff’s Opposition also fails to support Plaintiff’s prerecorded voice arguments

 with any legal authorities of his own and, instead, it merely repeats or recasts the same conclusory

 allegations from the Complaint. See Opp. at 9-10. Nor does Plaintiff refute any of Alarm.com’s

 cited authorities regarding prerecorded voice or ATDS use (see Motion at 14-16); and, as

 demonstrated above, his ATDS authorities are readily distinguishable. The Court should reject

 Plaintiff’s facially deficient arguments on these issues and dismiss. See Schwartz and Alvarez, supra.

     IV.    Plaintiff’s Arguments Regarding His TCPA DNC Claim Are Unavailing.

        Plaintiff dedicates a significant portion of his Opposition to irrelevant telecommunications

 history in a misguided attempt to support his “DNC” rule violation claim under Section 227(c) of

 the TCPA in Count III. See Opp. at 12-15. Plaintiff misses the mark on this issue, as well.

        Indeed, as Alarm.com demonstrated in its opening brief, Plaintiff must also plausibly allege

 facts suggesting that Alarm.com “physically placed” or sent the at issue call or text messages to state



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 a claim for direct liability under Section 227(c) and avoid dismissal under Rule 12(b)(6). See Motion

 at 8, 17 (citing Donaca, Meilleur, Jung). Because Plaintiff failed to allege that Alarm.com physically

 placed the call or text messages, concedes that there is no vicarious liability, and cites no authority

 disputing this pleading requirement either, Count III should also be dismissed.

        Additionally, while Plaintiff spills much ink arguing that “[c]ellular telephones can be used

 for residential purposes” (Opp. at 14), he misses the point. Under Section 227(c), Plaintiff “must

 establish that his cellular number is used for residential purposes.” Lee v. Loandepot.com, LLC,

 2016 WL 4382786, at *6 (D. Kan. Aug. 17, 2016). Consequently, federal courts have dismissed

 Section 227(c) claims at the pleadings stage where, as here, the complaint does not allege facts

 suggesting that the plaintiff fits the definition of a “residential telephone subscriber”—i.e., that his

 or her cell phone is used for “residential purposes.” See, e.g., Cunningham v. Rapid Capital Funding,

 LLC/RCF, 2017 WL 3574451, at *3 (M.D. Tenn. July 27, 2017), report and rec. adopted sub nom.

 Cunningham v. Rapid Capital Funding, LLC, 2017 WL 3776165 (M.D. Tenn. Aug. 31, 2017) (“As

 Plaintiff has not alleged facts showing his cell phones are used for residential purposes, he fails to

 state a claim under 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c) and (d)(4).”). In this regard, not

 only does Plaintiff ignore (and thus concede) Alarm.com’s argument and authority on this issue (see

 Motion at 18), but his Complaint merely alleges that his “telephone number is not associated with a

 business and is for personal use” (Compl. ¶ 12); and he does not allege in his Complaint or (quite

 tellingly) argue in his Opposition that his cell phone is used for “residential purposes.”

        Moreover, the few relevant cases cited by Plaintiff on this point (see Opp. at 14-15) are

 distinguishable and inapposite. For example, in Hodgin, the defendants apparently argued that all

 cell phones, regardless of use, are not allowed on the National DNC Registry. In Dish Network, the

 court ruled on a motion to exclude expert testimony, and not whether the allegations in the complaint



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 were sufficient for a DNC claim or whether a call to a cell phone not used for “residential purposes”

 violates the TCPA’s National DNC Registry provision. The district judge in Phillips apparently only

 agreed with the magistrate’s order to the extent there were insufficient facts alleged to determine

 whether there was an established business relationship, which is an exception to the TCPA’s

 National DNC Registry rules, not whether all calls to any cell phone may result in a § 227(c)

 violation. See Phillips v. Mozes, Inc., 2015 WL 12806594, at *1 (N.D. Ala. Jan. 26, 2015). In

 Sussino, the Third Circuit did not rule on National DNC Registry provision (§ 227(c)) but on the

 ATDS provision (§ 227(b)). In short, whether a cell phone can be registered on the National DNC

 Registry does not mean all of them should be, let alone that Plaintiff’s pled allegations in this regard

 are sufficient under Rule 12(b)(6). Cf. Mattson v. Quicken Loans Inc., 2019 WL 7630856, at *4 (D.

 Or. Nov. 7, 2019) (“[T]he national do-not-call rules do not prohibit calls to business numbers.”).

        Lastly, despite referring to them in his Complaint (see ¶ 42), Plaintiff’s Opposition posits

 that he “does not bring a claim under 47 C.F.R. § 64.1200(d)(3)”—i.e., the “internal” DNC rules

 promulgated under the “technical and procedural standards” in Section 227(d) of the TCPA—and

 thus Plaintiff has conceded this issue as well. See Schwartz, Alvarez, and Chamblee, supra.

      V.    Plaintiff’s Arguments Regarding His VTPPA Claim Are Likewise Unavailing.

        Plaintiff’s arguments in support of his duplicative VTPPA claim in Count IV (see Opp. at

 16-18) fare no better than his TCPA arguments. Again, Plaintiff fails on this front on several levels:

        For starters, Plaintiff concedes that his VTPPA claim is based on the “same [alleged]

 conduct” as his TCPA claim. Opp. at 17. Thus, since Plaintiff fails to plead sufficient (nor any)

 facts connecting Alarm.com to the at-issue call or text messages in support of his underlying TCPA

 claim, his VTPPA claim naturally fails. See, e.g., Cunningham v. Politi, 2019 WL 2519702, at *7

 (E.D. Tex. Apr. 26, 2019), report and rec. adopted, 2019 WL 2526536 (June 19, 2019) (“Because



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 Plaintiff’s underlying (federal) TCPA claims fail, Plaintiff’s state TCPA claim … also fails.”).

        Additionally, Plaintiff notes that the VTPPA provides for “‘damages in the amount of $500

 for a first violation, $1,000 for a second violation, and $5,000 for each subsequent violation, as

 opposed to his TCPA DNC provision claim, which does not provide for attorneys’ fees and provides

 for up to $500 per violation in the absence of trebling.” Opp. at 17 (citing Va. Code Ann. §§ 59.1-

 515(A) & (C)). Yet, Plaintiff omits that, at the time of the alleged violation in this case, available

 statutory damages under the TCPA and VTPPA were identical (i.e., $500 per violation, trebled to

 $1500 for a “willful violation”); and it was only after he filed his Complaint that VTPPA statutory

 damages were increased, effective July 1, 2020. See Heeringa Decl., ¶ 5 & Ex. B thereto (text of §

 59.1-515 in effect). Regardless, there is nothing in the recent VTPPA amendments suggesting they

 are to be applied retroactively, and Plaintiff does not (and indeed cannot) argue otherwise. See

 Berner v. Mills, 265 Va. 408, 413, 579 S.E.2d 159, 161 (2003) (noting that (i) “the fundamental

 principle[] of statutory construction” is that “retroactive laws are not favored, and that a statute is

 always construed to operate prospectively unless a contrary legislative intent is manifest” and (ii)

 under Virginia law, changes to a “reenacted” statute like the VTPPA “are effective prospectively

 unless the bill expressly provides that such changes are effective retroactively on a specified date”)

 (citing, inter alia, VA Code Ann. § 1-238). See also U.S. ex rel. May v. Purdue Pharma L.P., 737

 F.3d 908, 915 (4th Cir. 2013) (“[T]he principle that the legal effect of conduct should ordinarily be

 assessed under the law that existed when the conduct took place has timeless and universal appeal.”)

 (quoting Landgraf v. USI Film Prods., 511 U.S. 244, 265 (1994)). That Plaintiff can only recover

 the same damages for the same alleged injury as his TCPA DNC claim under the version of the

 VTPPA in effect in this case thus further supports dismissal of his VTPPA claim under Rule 12(b)(6).

 See Motion at 20 (citing Yor-Wic Constr. Co.). Again, Plaintiff cites no authority to the contrary.



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        Further, while Plaintiff notes that the VTPPA still provides for attorneys’ fees and costs while

 the TCPA does not, Plaintiff ignores and does not refute the authority cited by Alarm.com in this

 regard holding that “[s]uch expenses are generally not considered ‘damages’ because they are not

 the legitimate consequence of the tort … sued upon.” Motion at 21, n. 16 (quoting Taxpayers for

 the Animas-La Plata Referendum v. Animas-La Plata Water Conservancy Dist., 739 F.2d 1472, 1480

 (10th Cir. 1984) (citing 22 Am. Jur. 2d Damages § 165)). This Court, applying Supreme Court

 precedent, has ruled similarly. See, e.g., Bradford v. HSBC Mortg. Corp., 280 F.R.D. 257, 262 (E.D.

 Va. 2012) (quoting Fogerty v. Fantasy, Inc., 510 U.S. 517, 533 (1994)). Nevertheless, while

 Plaintiff relies heavily on the District of Maryland’s post-Mims decision in Boger v. Trinity Heating

 & Air on this point (see Opp. at 17), the court in that case noted several key differences between the

 Maryland analog statute and the TCPA beyond the recovery of fees impacting its decision there,

 including that the Maryland statute did not allow corporate claims or for the recovery of treble

 damages, which are not an issue under the effective version of the VTPPA in this case. See 2018

 WL 1851146, at *3 (D. Md. Apr. 18, 2018). And even then, the Boger court noted that “[a]t least

 one judge in th[at] District has expressed doubts that plaintiffs may recover statutory damages under

 both the TCPA and MTCPA for the same violations.” Id. (citing Pasco v. Protus IP Sols., Inc., 826

 F. Supp. 2d 825, 846 (D. Md. 2011)). Thus, Plaintiff’s reliance on Boger is misplaced.

        Moreover, the other cases Plaintiff cites in support of his VTPPA argument (Zhu and

 Charvat, decided in 2011) both predate Mims v. Arrow Financial Services, “in which the United

 States Supreme Court held federal and state courts enjoy concurrent jurisdiction over TCPA claims.”

 Masters v. Wells Fargo Bank S. Cent., 2013 WL 3713492, at *3 (W.D. Tex. July 11, 2013) (citing

 132 S.Ct. 740, 747 (2012)). Like the court held in Masters, which involved a substantially similar

 analog statute as is at issue here, there is nothing in the TCPA or in the VTPPA suggesting that



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 “either legislative body intended to allow double recovery under both state and federal law for the

 same TCPA violations” and instead “plaintiffs have a choice of forum rather than two separate

 avenues for recovery.” Id. Plaintiff does not argue or demonstrate otherwise in his Opposition.11

         Lastly, Plaintiff’s reliance on St. Louis Heart Ctr., Inc. v. Vein Centers For Excellence, Inc.,

 2013 WL 6498245 (E.D. Mo. Dec. 11, 2013) is also misplaced. There, the defendant argued that

 “by creating an avenue for a state official to bring a TCPA claim on behalf of a group of citizens,

 Congress intended to preclude private class actions.” Id. at *3 (emphasis added). However, the

 TCPA’s statutory damages provision the defendant challenged (47 U.S.C. § 227(b)(3)) does not, on

 its face, purport to be limited to an “individual action for damages” like its VTPPA counterpart. See

 VA Code Ann. § 59.1-515 (emphasis added). There is also a fundamental legal distinction between

 an “individual” action and a “class” action. See, e.g., Faheem-El v. Klincar, 600 F. Supp. 1029,

 1036 (N.D. Ill. 1984) (noting “there are significant differences between an individual action … and

 a class action”); Harris v. McDonnell, 2013 WL 5720355, at *4 (W.D. Va. Oct. 18, 2013) (noting

 “courts have considered the difference between class-action and individual lawsuits to be material

 in determining if the first-to-file rule should be applied”). In short, the “limiting language” that

 Plaintiff seeks (Opp. at 18) is in the title of the very statutory provision that he seeks to invoke.12


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             At best, Plaintiff notes that, “[b]y its own express terms, the VTPPA is not to ‘be construed
 to limit any remedies, causes of action or penalties available to any person or governmental agency
 under any other federal or state law.’” Opp. at 16 (quoting Va. Code Ann. § 59.1-518). All this
 provision means is that the VTPPA is not an exclusive remedy for National DNC Registry violations,
 which is consistent with the Supreme Court’s holding in Mims, but it does not mean that the same
 recovery under the VTPPA and TCPA for the same alleged injury is allowed. This is confirmed by
 the Virginia ex rel. Jagdmann case cited in Alarm.com’s Motion (see p. 20, fn. 15), in which the
 “Commonwealth [was] not seeking damages under the VTPPA [i.e., the same provisions at issue in
 the present case], as each of the violations is covered by the TCPA.”
          12
             In this regard, “‘[i]t is well established that when the statute’s language is plain, the sole
 function of the courts-at least where the disposition required by the text is not absurd-is to enforce it
 according to its terms.’ [] In interpreting the plain language of a statute, we give the terms their
 ‘ordinary, contemporary, common meaning….” Crespo v. Holder, 631 F.3d 130, 133 (4th Cir. 2011)
 (quoting Lamie v. United States Tr., 540 U.S. 526, 534 (2004) and North Carolina ex rel. Cooper v.
 Tenn. Valley Auth., 515 F.3d 344, 351 (4th Cir. 2008)) (internal citations omitted).

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     VI.     Plaintiff Has Not Met His Burden to Plead Article III Standing.

         Plaintiff’s argument that he has Article III standing is also unavailing. Relying exclusively

 on the District of Minnesota’s opinion in Ung v. Universal Acceptance Corp., 198 F. Supp. 3d 1036

 (D. Minn. 2016), Plaintiff argues that he “it is clear that Defendant’s violations of the TCPA are

 traceable to its conduct, and that the violations are redressable by statutory damages.” Opp. at 19.

 However, Ung is inapposite because there, unlike here, “[i]t [was] readily apparent that the only

 harm alleged in th[at] case resulted from [Defendant]’s conduct, and not from the actions of any third

 parties.” 198 F. Supp. 3d at 1040 (emphasis in original). In stark contrast to Ung, Plaintiff here has

 not pled any facts from which it could be inferred, for example, it was Alarm.com that physically

 placed the call/texts at issue as opposed to some third-party (e.g., “Mark” with “Home Security

 Promotions”). In this regard, federal courts have consistently dismissed TCPA claims under Rule

 12(b)(1) where, as here, the plaintiff does not plead sufficient facts connecting the defendant to the

 calls or the parties that made the calls. See Motion at 21 (citing Barker and Friedman). See also

 Craftwood Lumber Co. v. Horizon Glob. Corp., 2018 WL 6920394, at *3 (N.D. Ill. Apr. 12, 2018)

 (same). This Court should rule similarly here and also dismiss the Complaint under Rule 12(b)(1).

         Plaintiff also relies solely on Ung to argue that his “alleged injuries are easily redressable”

 because the TCPA provides for statutory damages. Opp. at 14. Plaintiff entirely misses the point.

 As noted above, the court in Ung found that the only harm alleged in that case resulted from the

 defendant’s conduct and not some third party. Here, the circumstances are different, and imposing

 statutory or other damages on Alarm.com or enjoining Alarm.com as Plaintiff asks because of the

 alleged acts of unidentified third parties will not prevent those or other third parties from calling him

 in the future. Therefore, Ung is distinguishable and the Court should also dismiss the Complaint

 pursuant to Rule 12(b)(1) for this additional reason. And because Plaintiff’s Opposition does not



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 bother to address Alarm.com’s request that the Complaint be dismissed with prejudice (see Motion

 at 24), Plaintiff has also conceded that point. See Schwartz, Alvarez, and Chamblee, supra.

    VII.    Plaintiff Fails to Refute the Basis for Alarm.com’s Alternative Motion to Strike.

        Finally, as to Alarm.com’s alternative motion to strike, Plaintiff contends that his superfluous

 “historical allegations” that “consumers have complained about receiving calls transmitting the

 identical prerecorded voice message, the myriad online complaints regarding Defendant’s

 unsolicited practices, and the fact that Alarm.com has been previously sued over its TCPA violations,

 are directly relevant to a determination of whether Alarm.com’s TCPA violations in this action were

 ‘willful’ or ‘knowing’” for treble damages purposes. Opp. at 20. As noted above and in the Motion,

 however, those other prerecorded messages that Plaintiff cites are not “identical” as Plaintiff

 contends, and the anonymous online “complaints” upon which Plaintiff bases his claims are on third

 party websites that do not connect the at-issue call or texts to, nor mention, Alarm.com. See Sections

 I and III supra; see also Motion at 9, 14, 23 & fns. 8 & 9. Again, that Alarm.com has been involved

 in other previous TCPA cases does not support an inference that Alarm.com is liable for the at-issue

 call or text messages in this case, as one judge in those previous cases noted. See Motion at 23

 (citing Fisher). The real and sole purpose for including these allegations is to paint Alarm.com in a

 false negative light, and not to plead facts supporting the alleged violations in this case. Plaintiff

 fails to cite any cases holding that such allegations are proper. They are not and must be stricken.

                                           CONCLUSION

        For all the reasons stated above and in the Motion, Defendant Alarm.com respectfully

 requests that the Court enter an order dismissing the Complaint in its entirety and with prejudice,

 and granting Alarm.com all other relief the Court deems just and proper.




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 Dated: July 22, 2020               Respectfully submitted,

                                    By: /s/ Andrew Zimmitti
                                       Andrew Zimmitti
                                       John W. McGuinness (Admitted Pro Hac Vice)
                                       MANATT, PHELPS & PHILLIPS, LLP
                                       1050 Connecticut Avenue, NW, Suite 600
                                       Washington, D.C. 20036
                                       Telephone: 202-585-6500
                                       Facsimile: 202-585-6600
                                       azimmitti@manatt.com
                                       jmcguinness@manatt.com

                                       A. Paul Heeringa (Admitted Pro Hac Vice)
                                       MANATT, PHELPS & PHILLIPS, LLP
                                       151 North Franklin Street, Suite 2600
                                       Chicago, IL 60606
                                       Telephone: 312-529-6308
                                       Facsimile: 312-529-6315
                                       pheeringa@manatt.com

                                       Attorneys for Defendant
                                       Alarm.com Incorporated




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                                  CERTIFICATE OF SERVICE

       I certify that on, July 22, 2020, a true and correct copy of the foregoing document was

 electronically filed with the Court’s ECF system to be sent via the electronic notification system to

 all counsel of record in the above-captioned matter.

                                               By: /s/ Andrew Zimmitti
                                                  Andrew Zimmitti
                                                  MANATT, PHELPS & PHILLIPS, LLP
                                                  1050 Connecticut Avenue, NW, Suite 600
                                                  Washington, D.C. 20036
                                                  Telephone: 202-585-6500
                                                  Facsimile: 202-585-6600
                                                  azimmitti@manatt.com




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